   Case 22-18060-RG               Doc 20 Filed 12/24/22 Entered 12/25/22 00:12:41                                Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−18060−RG
                                         Chapter: 13
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Allen Gordon
   15 Mountain Lakes Road
   Oakland, NJ 07436
Social Security No.:
   xxx−xx−9400
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 12/21/22.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: December 22, 2022
JAN: rah

                                                                         Jeanne Naughton
                                                                         Clerk
       Case 22-18060-RG                     Doc 20 Filed 12/24/22 Entered 12/25/22 00:12:41                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-18060-RG
Allen Gordon                                                                                                           Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 22, 2022                                               Form ID: 148                                                              Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 24, 2022:
Recip ID                   Recipient Name and Address
db                     +   Allen Gordon, 15 Mountain Lakes Road, Oakland, NJ 07436-3004
519756439              +   Demetria Goodman, c/o Bergen Probation Dept, 2 Bergen County Place, Hackensack, NJ 07601-7076
519756443              +   Gordon Shana, 15 Mountain Lakes Road, Oakland, NJ 07436-3004
519733660              +   Hackensack Meridian Health, PO Box 8505, Coral Springs FL 33075-8505
519791435              +   Hackensack University Medical Group, C. Tech Collections, Inc, 5505 Nesconset Hwy, Ste 200, Mt. Sinai, NY 11766-2026
519733662              +   Oaklyn Tax Collector, 1 Municipal Plaza, Oakland NJ 07436-1827
519756441              +   State of New Jersey, PO Box 245, Trenton, NJ 08695-0245
519733663              +   US Bank Trust National Trust Association, KML Law Group PC, 701 Market Street 6, Philadelphia PA 19106-1538

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Dec 22 2022 20:38:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Dec 22 2022 20:38:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Dec 22 2022 20:38:00      U.S. Bank Trust National Association, not in its i,
                                                                                                                  Robertson, Anschutz, Schneid, Crane & Pa, 130
                                                                                                                  Clinton Rd # 202, Fairfield, NJ 07004-2927
519756440              + EDI: IRS.COM
                                                                                        Dec 23 2022 01:34:00      IRS, PO Box 7346, Philadelphia, PA 19101-7346
519733661              + Email/Text: mail@jenkinsclayman.com
                                                                                        Dec 22 2022 20:38:00      Jenkins Clayman, 412 S Whitehorse Pike,
                                                                                                                  Audubon NJ 08106-1311
519793821              + Email/Text: bkteam@selenefinance.com
                                                                                        Dec 22 2022 20:38:00      U.S. Bank Trust National Association, c/o Selene
                                                                                                                  Finance LP,, Attn: BK Dept., 3501 Olympus
                                                                                                                  Blvd,, Dallas, TX 75019-6156

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
519756442                      Reynold Martin

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
       Case 22-18060-RG                  Doc 20 Filed 12/24/22 Entered 12/25/22 00:12:41                                           Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-2                                              User: admin                                                               Page 2 of 2
Date Rcvd: Dec 22, 2022                                           Form ID: 148                                                            Total Noticed: 14

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 24, 2022                                        Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 22, 2022 at the address(es) listed
below:
Name                            Email Address
Jeffrey E. Jenkins
                                on behalf of Debtor Allen Gordon mail@jenkinsclayman.com JenkinsClayman@jubileebk.net

Kimberly A. Wilson
                                on behalf of Creditor U.S. Bank Trust National Association not in its individual capacity but solely as owner trustee for VRMTG
                                Asset Trust k_wilsonlaw@comcast.net, courtdocs_kwlaw@comcast.net;kwlawoffices@gmail.com

Marie-Ann Greenberg
                                magecf@magtrustee.com

Sindi Mncina
                                on behalf of Creditor U.S. Bank Trust National Association not in its individual capacity but solely as owner trustee for VRMTG
                                Asset Trust smncina@raslg.com

U.S. Trustee
                                USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 5
